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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Jessica Biczo, individually and on behalf of all                      1:22-cv-01967
others similarly situated,
                                   Plaintiff,

                     - against -                                 Class Action Complaint

Ferrara Candy Company,
                                                                  Jury Trial Demanded
                                   Defendant

         Plaintiff alleges upon information and belief, except for allegations pertaining to Plaintiff,

which are based on personal knowledge:


         1.    Ferrara Candy Company (“Defendant”) manufactures, labels, markets, and sells

caramel candy represented as “Made with Real Milk” and “Rich and Creamy,” with a pitcher of

milk under the Brach’s Milk Maid brand (“Product”).

I.    INCREASE IN QUALITY CARAMELS

         2.    Over the past ten years, caramel has been one of the fastest-growing confectionery

categories, with value sales increasing by five percent per annum.

         3.    That sales increases are double volume growth over the same period is reflective of

caramel’s premium category.

         4.    Consumer research group Mintel confirmed the increase in the number of new

launches of higher-priced caramels while lower-priced caramel products are declining.

         5.    Part of the premiumization of caramel products is based on the presence of high

quality ingredients, from dairy sources, as opposed to vegetable fats like palm oil.

         6.    During this period, Defendant began marketing its caramels as “Made With Real

Milk.”
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         7.    The representations that the Product is “Made With Real Milk,” and “Rich and

Creamy,” with a pitcher of milk, causes consumers to expect a non-de minims amount of milk fat.

         8.    However, the representations are false, deceptive, and misleading, because the fat

content is exclusively from vegetable fat.

II.   WHAT IS CARAMEL

         9.    The quality of caramel depends on the amount and type of fat-contributing

ingredients.

         10.   Britannica Dictionary defines caramel as a “light brown candy made from butter,

sugar, and milk or cream.”

         11.   Collins Dictionary defines caramel as “a chewy sweet food made from sugar, butter,

and milk.”

         12.   Cambridge Dictionary defines caramel as a “chewy sweet food made from sugar,

butter, and milk.”

         13.   Merriam-Webster defines caramel as a “firm, chewy, usually caramel-flavored candy

made with sugar, cream, corn syrup, and butter.”

         14.   Macmillan Dictionary defines caramel as a “candy made from sugar, butter, and

milk.”

         15.   Scholarly treatises confirm the definitions of mainstream dictionaries, describing

“‘Caramel candy, or ‘caramel[s],’” as a “soft, dense, chewy candy made by boiling a mixture of

milk or cream, sugar(s), glucose, butter, and [flavoring].”

         16.   Two model commercial formulations of caramel from a textbook on confectionery

science contain fat ingredients based on dairy ingredients without vegetable fats.




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                                                  Commercial caramel           Caramelized sugar
                                                  (ungrained)                  caramel
 Water                                            15–25                        0
 Sucrose                                          10–20                        55–65
 Glucose syrup                                    36–46                        0–5
 Sweetened condensed milk/evaporated              20–40                        0
 milk/milk powder
 Cream                                            0                            25–35
 Butter                                           5–15                         6–12
 Salt                                             0.2–0.5                      0.2–0.5
 Vanilla                                          0.1–0.3                      0.1–0.3
 Lecithin                                         0–0.4                        0–0.4

          17.   Dairy fat ingredients contain hundreds of lactones, or aroma compounds, which

contribute to taste receptors in the mouth.

          18.   Milkfat melts at mouth temperature (95°F) and is smooth.

          19.   Vegetable fats do not melt at mouth temperature and leave a waxy mouthfeel.

          20.   A study by a confectionery trade organization evaluated numerous caramel

formulations with no differences in acceptability between eight and sixteen percent milkfat.

          21.   Only when the milkfat was completely replaced with vegetable fats was the flavor

judged by participants to be significantly lower.

          22.   The substitution of milk fat with vegetable fats reduces cost, but results in a product

which provides less satiety.

          23.   In contrast to fats from dairy ingredients which contains vitamins and nutrients,

vegetable oils lack nutrients and vitamins, and are linked to health problems, like increased

chances of heart disease and increased cholesterol.

III. REPRESENTATIONS ABOUT MILK CONTENT

          24.   The representations include the statements, “Rich and Creamy Caramels Made with




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Real Milk,” “Made with Real Milk,” and a pitcher of milk.




       25.   Consumers purchasing caramels will expect the references to “real milk” and refers

to whole milk, because fat ingredients are central to caramel.

       26.   Between the various kinds of milk, whole milk has the highest amount of fat, at

3.25%, as opposed to skim or nonfat milk, with no fat.

       27.   Consumers purchasing caramels will expect the description, “Rich and Creamy,”


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refers to dairy ingredients containing milk fat, as these adjectives are associated with such

ingredients.

       28.     However, the representations that the Product is “Made with Real Milk,” and “Rich

and Creamy” are false, deceptive and misleading, because the fat content is entirely from vegetable

fat in the form of “Hydrogenated Palm Kernel Oil,” the third most predominant ingredient.




                INGREDIENTS: CORN SYRUP, SUGAR, HYDROGENATED
                PALM KERNEL OIL, SKIM MILK, BUTTERMILK, WHEY,
                CALCIUM CARBONATE, SALT, ARTIFICIAL FLAVORS,
                LIPOLYZED        BUTTER       OIL,    MOLASSES,       POTASSIUM
                SORBATE (PRESERVATIVE).

       29.     While the ingredients include milk, these are skim milk and buttermilk.

       30.     Skim milk has less than 0.1% fat, and buttermilk is less than 0.5% fat.

       31.     Though the Product contains whey, this dairy ingredient is almost entirely protein,

which provides structure.

       32.     Whey is added for cost savings over more expensive milk fat ingredients.

       33.     It is false, deceptive and misleading to substitute the most valuable component of

milk, milk fat, with lower cost vegetable oils.

       34.     This practice was common in the early 20th century, when companies removed

milkfat from milk and replaced the fat portion with vegetable oil, equivalent to the combination of

skim milk and palm oil used in the Product.

       35.     This combination was called “filled milk,” which cost less than regular milk,


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enriching suppliers at the expense of consumers.

       36.    Congress prohibited filled milk as deleterious to public health and deceptive to

consumers.

       37.    The Product lacks the nutritive, sensory, organoleptic, and other attributes expected

from a product identified as “Caramel” that is “Made with Real Milk,” and described as “Rich and

Creamy.”

       38.    Other products represented as caramel which promote the presence of dairy

ingredients contain ingredients with milk fat, such as butter, cream, and whole milk.

       39.    This causes consumers to expect Defendant’s Product is equivalent to competitors in

quality, even though it is not.

       40.    Defendant makes other representations and omissions with respect to the Product

which are false and misleading.

       41.    Reasonable consumers must and do rely on a company to honestly and lawfully

market and describe the components, attributes, and features of a product, relative to itself and

other comparable products or alternatives.

       42.    The value of the Product that Plaintiff purchased was materially less than its value

as represented by Defendant.

       43.    Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       44.    Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

       45.    As a result of the false and misleading representations, the Product is sold at a

premium price, approximately no less than no less than $4.39 per 10 OZ, excluding tax and sales,




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higher than similar products, represented in a non-misleading way, and higher than it would be

sold for absent the misleading representations and omissions.

                                              Jurisdiction and Venue

          46.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

          47.   The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

          48.   Plaintiff Jessica Biczo is a citizen of Illinois.

          49.   Defendant Ferrara Candy Company is an Illinois corporation with a principal place

of business in Chicago, Cook County, Illinois.

          50.   The class of persons Plaintiff seeks to represent includes persons who are citizens of

different states from which Defendant is a citizen

          51.   The members of the class Plaintiff seeks to represent are more than 100, because the

Product has been sold for several years, with the representations described here, in thousands of

locations, in the states covered by Plaintiff’s proposed classes.

          52.   The Product is available to consumers from third-parties, which includes grocery

stores, dollar stores, warehouse club stores, drug stores, convenience stores, big box stores, and

online.

          53.   Venue is in the Eastern Division in this District because a substantial part of the

events or omissions giving rise to these claims occurred in DuPage County, including Plaintiff’s

purchase, consumption, and/or use of the Product and awareness and/or experiences of and with

the issues described here.




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                                                 Parties

          54.   Plaintiff Jessica Biczo is a citizen of Carol Stream, DuPage, Illinois.

          55.   Defendant Ferrara Candy Company is an Illinois corporation with a principal place

of business in Chicago, Illinois, Cook County.

          56.   Brach’s company was founded in Chicago in 1904 by Emil J. Brach, who invested

his $1,000 life savings in a storefront candy store with a single kettle.

          57.   Operated as a family business, Brach’s never compromised on quality ingredients,

especially when it came to the company’s main product – caramels.

          58.   Emil Brach’s mantra was to be honest with customers, selling quality products at fair

prices.

          59.   The Brach’s candy company grew for decades under the leadership of the Brach

family.

          60.   Eventually, Brach’s was sold to the multinational Ferrara Candy Company.

          61.   Consumers trust the Brach’s brand, because they have grown up with their

confections, from chocolate, to candy corn, to caramel.

          62.   Consumers know that candy is not a “healthy” product, but an indulgence.

          63.   However, consumers prefer higher quality ingredients like dairy ingredients with

milk fat over vegetable fats.

          64.   to be honest with them, because it has built up a reservoir of good will based on its

practices and quality.

          65.   The Product is available to consumers from third-parties, which includes grocery

stores, dollar stores, warehouse club stores, drug stores, convenience stores, big box stores, and

online.




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         66.   Plaintiff purchased the Product on one or more occasions within the statutes of

limitations for each cause of action alleged, at stores including Jewel-Osco, 750 Army Trail Rd,

Carol Stream, IL 60188 between October 9, 2021, and December 9, 2021, and/or among other

times.

         67.   Plaintiff believed and expected the Product contained milk ingredients which

contained milk fat because that is what the representations and omissions said and implied.

         68.   Plaintiff relied on the words, terms coloring, descriptions, layout, placement,

packaging, tags, and/or images on the Product, on the labeling, statements, omissions, claims,

statements, and instructions, made by Defendant or at its directions, in digital, print and/or social

media, which accompanied the Product and separately, through in-store, digital, audio, and print

marketing.

         69.   Plaintiff bought the Product at or exceeding the above-referenced price.

         70.   Plaintiff would not have purchased the Product if she knew the representations and

omissions were false and misleading or would have paid less for it.

         71.   Plaintiff chose between Defendant’s Product and products represented similarly, but

which did not misrepresent their attributes, requirements, instructions, features, and/or

components.

         72.   The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.

         73.   Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance the Product's representations are consistent with its abilities, attributes, and/or

composition.

         74.   Plaintiff is unable to rely on the labeling and representations not only of this Product,




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but other similar caramels and confections containing caramel, because she is unsure whether those

representations are truthful.

                                         Class Allegations

       75.    Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                       Illinois Class: All persons in the State of Illinois who
                       purchased the Product during the statutes of
                       limitations for each cause of action alleged; and

                       Consumer Fraud Multi-State Class: All persons in
                       the States of Arkansas, Iowa, Wyoming, Texas,
                       Nebraska, South Dakota, West Virginia, Utah, Idaho,
                       Alaska, and Montana who purchased the Product
                       during the statutes of limitations for each cause of
                       action alleged.

       76.    Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

       77.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

       78.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       79.    No individual inquiry is necessary since the focus is only on Defendant’s practices

and the class is definable and ascertainable.

       80.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       81.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       82.    Plaintiff seeks class-wide injunctive relief because the practices continue.



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                  Illinois Consumer Fraud and Deceptive Business Practices Act
                                (“ICFA”), 815 ILCS 505/1, et seq.

                                   (Consumer Protection Statute)

       83.    Plaintiff incorporates by reference all preceding paragraphs.

       84.    Plaintiff believed the Product contained milk ingredients which contained milk fat.

       85.    Defendant’s false, misleading and deceptive representations and omissions are

material in that they are likely to influence consumer purchasing decisions.

       86.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       87.    Plaintiff relied on the representations and omissions to believe the Product contained

milk ingredients which contained milk fat.

       88.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                              Violation of State Consumer Fraud Acts

                      (On Behalf of the Consumer Fraud Multi-State Class)


       89.    The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

deceptive business practices in the conduct of commerce.

       90.    The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       91.    Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct.




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       92.    As a result of Defendant’s use of artifice, and unfair or deceptive acts or business

practices, the members of the Consumer Fraud Multi-State Class sustained damages.

       93.    Defendant’s conduct showed motive and a reckless disregard of the truth such that

an award of punitive damages is appropriate.

                                    Breaches of Express Warranty,
                Implied Warranty of Merchantability/Fitness for a Particular Purpose and
                       Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       94.    The Product was manufactured, identified, marketed and sold by Defendant and

expressly and impliedly warranted to Plaintiff and class members that it contained milk ingredients

which contained milk fat.

       95.    Defendant directly marketed the Product to Plaintiff and consumers through its

advertisements and marketing, through various forms of media, on the packaging, in print

circulars, direct mail, and targeted digital advertising.

       96.    Defendant knew the product attributes that potential customers like Plaintiff were

seeking and developed its marketing and labeling to directly meet those needs and desires.

       97.    Defendant’s representations about the Product were conveyed in writing and

promised it would be defect-free, and Plaintiff understood this meant that it contained milk

ingredients which contained milk fat.

       98.    Defendant’s representations affirmed and promised that the Product contained milk

ingredients which contained milk fat.

       99.    Defendant described the Product so Plaintiff and consumers believed it contained

milk ingredients which contained milk fat, which became part of the basis of the bargain that it

would conform to its affirmations and promises.

       100. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.


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       101. This duty is based on Defendant’s outsized role in the market for this type of Product,

a trusted company known for its high quality products.

       102. Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

       103. Plaintiff provided or will provide notice to Defendant, its agents, representatives,

retailers, and their employees.

       104. Plaintiff hereby provides notice to Defendant that it breached the express and implied

warranties associated with the Product.

       105. Defendant received notice and should have been aware of these issues due to

complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

and by consumers through online forums.

       106. The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.

       107. The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container or label, because it was marketed

as if it contained milk ingredients which contained milk fat.

       108. The Product was not merchantable because Defendant had reason to know the

particular purpose for which the Product was bought by Plaintiff, because she expected it contained

milk ingredients which contained milk fat, and she relied on Defendant’s skill and judgment to

select or furnish such a suitable product.

       109. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.




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                                       Negligent Misrepresentation

       110. Defendant had a duty to truthfully represent the Product, which it breached.

       111. This duty was non-delegable, and based on Defendant’s position, holding itself out

as having special knowledge and experience in this area, a trusted company known for its high

quality products.

       112. Defendant’s representations and omissions regarding the Product went beyond the

specific representations on the packaging, as they incorporated the extra-labeling promises and

commitments to quality, transparency and putting customers first, that it has been known for.

       113. These promises were outside of the standard representations that other companies

may make in a standard arms-length, retail context.

       114. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       115. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       116. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                              Fraud

       117. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it contained milk ingredients which contained milk fat.

       118. Moreover, the records Defendant is required to maintain, and/or the information

inconspicuously disclosed to consumers, provided it with actual and constructive knowledge of

the falsity and deception, through statements and omissions.




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       119. Defendant knew of the issues described here yet did not address them.

       120. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

       121. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

       claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for Plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: April 16, 2022
                                                        Respectfully submitted,



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